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     Perry J. Narancic, SBN 206820
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     ONLINENIC, INC. and DOMAIN ID SHIELD SERVICE
6    CO., LIMITED
7

8                                        UNITED STATES DISTRICT COURT
9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                       Case No. 19-CV-07071-SVK
     LLC
12                                                       DECLARATION OF PERRY
                       Plaintiffs,                       NARANCIC IN SUPPORT OF
13           v.                                          DEFENDANTS’ MOTION TO
                                                         RETAIN CONFIDENTIALITY
14                                                       DESIGNATIONS UNDER
     ONLINENIC, INC. and DOMAIN ID                       PROTECIVE ORDER (ECF 35) AND
15   SHIELD SERVICE CO., LIMITED.                        MOTION FOR PROTECTIVE
                                                         ORDER UNDER FED. R. CIV.
16                    Defendants.                        PROC. 26(c).
17

18
             I, Perry Narancic, declare as follows:
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             1.       I am counsel of record for OnlineNIC, Inc. and DomainID Shield Service Co.,
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     Limited in the above-captioned action. I have personal knowledge of the facts set forth in this
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     declaration, and if called as a witness I would testify to the facts contained in this declaration.
22
             2.       Attached as Exhibit A is a true and correct copy of Plaintiffs’ First Set of Requests
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     for Production of Documents and Things to Defendant OnlineNIC, Inc. Similar requests were sent
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     to Defendant Domain ID Shield Service Co., Limited.
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             3.       Upon receiving these requests, Defendants were concerned about the broad nature of
26
     the requests and how to ensure that Defendants met their discovery obligations. Thus, Defendants
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     asked for a list of keywords in order to satisfy some of those searches. Plaintiffs took nearly a
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1    month to respond, at which time Plaintiffs gave to Defendants a list of keywords that were very

2    broad, such as “disclose,” “reveal,” “redacted,” etc. Attached as Exhibit B is the email from

3    Plaintiff’s counsel with Plaintiffs’ keywords.

4            4.       I am told that Defendants did their best to comply with Plaintiffs’ keyword list –

5    and Defendants produced over 28,000 documents (amounting to over 270,000 pages), which

6    included approximately 200,000 pages in the dataset of keyword searches (“KeyWord Dataset”).

7            5.       Attached as Exhibit C is a true and correct copy of First Supplemental Response of

8    OnlineNIC, Inc. to Requests for Production of Documents Propounded by Facebook, Inc. and

9    Instagram, LLC. A similar response was made by Defendant Domain ID Shield Service Co.,

10   Limited.

11           6.       Defendants timely designated certain categories of their document production as

12   CONFIDENTIAL under the Protective Order in this case, at ECF 35 (“Protective Order”). The

13   designations included OnlineNIC’s “Registration Database”, as well as 24,179 of the 28,079

14   unstructured documents produced by Defendants through the Relativity document review platform.

15   My understanding from Plaintiffs’ counsel is that Plaintiffs also use Relativity.

16           7.       Attached as Exhibit D is a true and correct copy of a letter from David Steele to P.

17   Narancic dated October 1, 2020.

18           8.       On October 12, 2020 counsel for both parties had a telephonic meet and confer for

19   almost two hours. Attached as Exhibit E is a true and correct copy of follow-up e-mails between

20   counsel relating to our meet and confer. During the meet-and-confer process, I made clear the

21   obvious point that Defendants do not claim confidentiality over any publicly available information,

22   such as (a) WHOIS information which is also located in the Registration Database, (b) UDRP

23   decisions and official actions (ONLINENIC 225793 – 252185), and other public filings (such as

24   court orders). Plaintiffs rejected my proposal that they send me relevant documents that they might

25   actually use, and that Defendants would review any confidentiality designations for that subset.

26           9.       Defendants produced over 28,000 documents. Throughout the meet and confer

27   process, Plaintiffs only gave six examples of documents that they claim were improper

28   (ONLINENIC 180886 ( a scam email sent to complaints@onlinenic.com relating to rich Ivorian
                                                      - 2-
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1    Royals), 178950 (an advertisement for pain relief sent to abuse@onlinenic.com) , 178949 ( a spam

2    menswear collection email sent to abuse@onlinenic.com) , 225791(a domain name transfer matter

3    sent to icann@onlinenic.com), 225901 (a court order) and 70837 ( a support ticket containing

4    customer contact information).

5            10.      Plaintiffs have not identified a single document that they actually intend to use in

6    this case. In addition, Plaintiffs have given no reason in our meet and confers, why it is necessary

7    for these documents to be de-designated. Defendants are left to assume that the only reason for

8    Plaintiffs’ stand is to harass and deplete Defendants.

9            11.      To review Defendant’s massive production in this case (which is needlessly large

10   due to Plaintiffs’ unreasonably expansive discovery requests and wild keywords), I estimate that it

11   would take an associate attorney 100-200 hours, which at an assumed rate of $400/hr., would cost

12   $40,000 – 80,000.

13           12.      Following the October 12, 2020 meet-and-confer, I agreed to go back and review

14   abuse@onlinenic.com emails, which I did. I concluded that some of the emails contained emails

15   from individuals who were citizens of EU states, and who were protected by the GDPR. (e.g.

16   ONLINEIC 180592, 180423, 194460). Accordingly, it is improper to publicly disclose names and

17   contact information for these individuals protected by GDPR. I concluded that it would simply be

18   too burdensome to go through 22,000 emails to investigate who is, and who is not, protected by

19   GDPR.

20           I declare under penalty of perjury under the laws of the State of California that the foregoing

21   is true and correct. Executed at Atherton, CA on October 22, 2020.

22

23
     DATED: October 22, 2020                       By: __/s/Perry J. Narancic
24                                                       Perry J. Narancic

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